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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT

for the

Southem District of Texas

Houston. Division

Case No.

- (to be filled in by the Clerk's Office)
Charles Lyons

Plaintifj(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot-fit in the space above, ~~
please write “see attached” in the space and attach an additional
page with the full list of names.)

-y-

- ‘Jury Trial: (check one) Yes [_] No

’ US Living LLC; Yehonotan Sade, Vero Capra -

Defendant(s)
(Write the fill name.of each defendant who is being sited.’ If ih
names of all the defendants cannot fit in the space above, please
write “see attached? in the. Space and attach an additional page
with the full list of names.)

COMPLAINT FOR A CIVIL CASE

I. _ The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named i in the complaint. Attach additional pages if —

needed.
__Name . Charles Lyons
Street Address 1513 Jasmine Parkway
City. and ‘County . Alpharetta Fulton
State and Zip Code GA 30022
Telephone Number: | -:. 6785161528 9°. °
E-mail Address ~ a481977@gmail.com

BR | The Defendant(s)

4 2

. Provide the inifStimation below for each defendant named in 1 the complaint, whether the defendant i is an

individual, a government agency, an organization, or a corporation. For an individual defendant,
- include the person's job or title (fsnown). Attach additional pages if needed. °

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Defendant No. 1
a Name
Job or Title (if known) .
Street Address
Q City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 2

-Name ._ ...
Job or Title (if known)
Street Address

. City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No.3 |

Name
_ Job or Title Gf. known)

Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 4
Name /
Job or Titles known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Yehonotan Sade

Owner

206 East 9th Street Suite 1300.

Austin, Travis

_ Texas 78701-4411

800.345.4647

Vero Capital

650 5th Avenue, 20th Floor

New York, New York County

New York 10019 .

212-792-5022

info@capitolservices.com

US Living LLC

“4849 Greenville Avenue, Suite 100

Dallas, Dallas

TX 75206

214-432-0807

info@capitolservices.com

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Il. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be ©
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States-Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. ..§ 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of eticershi case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court me (check all that apply)
(_] Federal question X} Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
AL Of the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United Slates Constitution that
are at issue in this case.

28 U.S.C. § 1332, 41 US Code § 6503.

B. If the Basis for Jurisdiction Is Diversity of Citizenship

1. The Plaintiff(s)
a. If the plaintiff is an individual
' The plaintiff, (mame) Charles Lyons , is a citizen of the

State of (name) Georgia

b. If the plaintiff is a corporation

The plaintiff, (name) , 18 incorporated
under the laws of the State of (name) .

and has its principal place of business in the State of (name) .

}
(If more than one plaintiff is named i in the complaint, attach an additional page providing the
same information for each additional plaintiff.)
Qe The Defendant(s)

a. If the defendant is an individual

The defendant, (vein) Yehonotan Sade , 1S a Citizen of
the State of (name) Texas . Or is a citizen of

(foreign nation)

‘

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b. If the defendant is a corporation
The defendant, (name) | Vero Capital , is incorporated under
the laws of the State of (mame) New York , and has its

principal place of business in the State of (name) New York

Or is incorporated under the laws of (foreign nation) . 4 :

and has its principal place of business in (name) New York

(If more than one defendant is named in the complaint, attach an additional page providing the.
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake-is more than $75,000, not counting interest and costs of court, because (explain):

2,900;000 *

Ii. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is assefted, number each claim and
write a short and plain statement-of each claim in a separate paragraph. Attach additional pages if needed.

Defendant violated 41 US Code § 6503 by breach of contract and 28 U.S.C. § 1332. Defendant was under
contractual obligation during leasé in July 2019 to repair mold infected unit caused by the unit above the
Plaintiffs’ unit and defendant refused to do so materially breaching contract, causing toxic mold esposure
and mildew damage throughout the whole unit.

Iv. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

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Award of statutory, actual and punitive damages for Plaintiff for toxic mold exposure, breach of contract and
failure to disclose of mold at property. ,

Vv. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best-of my knowledge, information,

. and belief that this complaint: (1) is not being presented for an improper purpose, such ag to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have. evidentiary support after.a reasonable
opportunity for further investigation or discovery, and (4) the complaint otherwise complies with the © -
requirements of Rule 11. ,

“A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address' where case-related papers may be

served. I uriderstand that my failure to keep a current address on file with the Clerk’s Office may result.
in the dismissal of my case.

Date of signing: © — 4/2/2024

Signature of Plaintiff ()

Printed Name of Plaintiff Charles Lyons

B. For Attorneys

Date of signing:

“Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Street Address
State and Zip Code
Telephone Number
E-mail Address

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
CHARLES LYONS,
Plaintiff, |
l
|
I
1 CIVIL ACTION FILE
Vv. |
! .
. I (Trial by Jury Demanded)
YEHONOTAN SADE, |
US LIVING LLC, l
VERO CAPITAL !
Defendants. |
COMPLAINT ~

Plaintiff Charles Lyons files this Complaint against Yehonotan Sade, US Living LLC, -
and Vero Capital. Plaintiff alleges, based on personal knowledge as to Defendant’s
actions and upon information and belief as to all other matters, as follows:

NATURE OF THE ACTION ©

Plaintiff Charles Lyons.brings this action under 28 U.S.C. § 1332. Defendant violated 41
US Code § 6503 by breach of contract. Defendant(s) was under contractual obligation
during lease in July 2019 to repair mold infected unit caused by the unit above the
plaintiffs’ unit and defendants refused to do so materially breaching contract causing
toxic mold exposure and mildew damage throughout the whole unit. Defendants’ did not
disclose the condition of unit concerning the mold damage and.exposure.

PARTIES

1. Plaintiff Charles Lyons, 1513 Jasmine Parkway Alpharetta, GA 30022.

2. Defendant Yehonotan Sade headquartered at 206 East 9% Street, Suite 1300 Austin, TX
78701 and registered agent address at 206 East 9" Street, Suite 1300 Austin, TX 78701.
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3. Defendant Vero Capital headquartered at 650 5th Avenue, 20th Floor New York, NY
10019 and registered agent address at 650 Sth Avenue, 20th Floor New York, NY 10019.

4. Defendant US Living LLC headquartered at 4849 Greenville Avenue, Suite 100
- Dallas, TX 75206 and registered agent address at 4849 Greenville Avenue, Suite 100
Dallas, TX 75206.

JURISDICTION AND VENUE

This Court has jurisdiction over this action as diversity of citizenship under 28 U.S.C. §
1332 as the Plaintiff lives in the State of Georgia and the Defendants are incorporated
under the laws of the State of Texas arid New York and principal place of business is the
State of Texas and New York. This Court has the authority to. grant relief pursuant to 28
USC. § 1322. Venue is proper under 28 U.S. Code§ 1391.

STATEMENT OF FACTS —

In July 2019, Plaintiff states he sent a maintenance request by electronic submission at
the resident portal at The Fields Retreat Peachtree managed and owned by Elite Street
Capital LLC which is currently US Living LLC/Vero Capital owned by Yehonotan Sade.
The Defendant violated the mold and mildew addendum in the lease contract of the
Plaintiff. The roof in the bathroom had caved in due to running water from the unit above
the Plaintiffs’. There was significant mold in the unit prior to the roof caving.in. The unit
was not repaired by the Defendants for weeks and the unit eventually had to be gutted
down to the studs and everything inside had to be thrown away. The Defendants refused
to respond to the Plaintiff and put in additional requests to have this issue fixed which
were ignored by the Defendants. The water damage caused toxic mold and mildew to set
in throughout the whole unit. The Plaintiff also became ill due to the toxic mold
exposure.

STATEMENT OF CLAIMS

Defendants failed to respond to request under contractually binding agreement to fix
necessary repairs. Defendants failed to not have exposed Plaintiff to toxic mold and
mildew cause by the Defendants’ negligence, putting Plaintiffs' health at risk. Defendants
failed to disclose the condition of the unit concerning the toxic mold, which was present
when Plaintiff signed the contract fro the unit.

PRAYER FOR RELIEF
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WHEREFORE, the Plaintiffs request that this Court:

(a) Expedite its consideration of this.action-pursuant to 28 U.S C. § 1332;
(b) Find that Defendants’ avlire to respond put Plaintiff under exposure to toxic mold
and mildew;

(c) Grant such other relief as the Court may deem just and proper; , ®

1. An award of statutory, actual and punitive damages for Plaintiff; .

2. An award of pre-judgment and post-judgment interest as provided by law.

_ JURY DEMAND

Plaintiff hereby requests and demands a trial by jury.

Respectfully submitted;

Harles Lyons
1513 Jasmine Parkway
Alpharetta, GA 30022
678-516-1528
a481977@ gmail.com

April 2, 2024
